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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MINNESOTA
Case No. 24-mj-78 (DTS)

STATE OF MINNESOTA )
) ss. AFFIDAVIT OF JASON BUJOLD
COUNTY OF HENNEPIN )

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Jason Bujold, being duly sworn, do hereby state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I make this Affidavit in support of issuing a complaint and arrest warrant for
Andrew David MUNSINGER (XX/XX/1983)! based on probable cause to believe
MUNSINGER is a felon in possession of ammunition, as defined by 18 U.S.C.
§ 921(a)(17)(A), and has therefore violated Title 18, United States Code, Section 922(g)(1)
(Felon in Possession of Ammunition).

2. Iam a “federal law enforcement officer” within the meaning of Federal Rule
of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the
criminal laws and duly authorized by the Attorney General to request a search warrant. I
am a Special Agent with the Federal Bureau of Investigation (“FBI”) currently assigned to
the FBI Minneapolis Division’s Joint Terrorism Task Force (“JTTF”). I have been
employed as an FBI Special Agent since 2017. As a Special Agent, I am authorized by

law or by a Government agency to engage in or supervise the prevention, detections,

| | have partially redacted the dates of birth of persons listed herein pursuant to local rules of this
Court. Unless otherwise noted, the full dates of birth are known to me and will be made available
to the Court on request.

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investigation, or prosecution of a violation of Federal criminal laws. In my current duties
as a Special Agent, I investigate criminal cases relating to domestic terrorism, amongst
other crimes and criminal activity. I have received specialized training in domestic-
terrorism investigations, and I have investigated and assisted in the prosecution of several
domestic-terrorism crimes.

3. . The facts set forth in this Affidavit are based on my own personal knowledge,
knowledge obtained from other individuals during my participation in this investigation,
including other law enforcement officers, my review of documents and computer records:
related to this investigation, communications with others who have personal knowledge of
the events and circumstances described herein, and information gained through my training
and experience. This Affidavit is intended to show only that there is sufficient probable
cause for the Criminal Complaint and does not set forth all of my or the government’s
knowledge about this matter. Based on my training and experience and the totality of the
facts as set forth in this Affidavit, there is probable cause to believe that MUNSINGER has
committed violations of Title 18, United States Code, Sections 922(g)(1).

FACTS SUPPORTING PROBABLE CAUSE

4. In February 2023, a Confidential Human Source (“CHS”), herein referenced

as CHS-1, provided information to the FBI that a member of the Aryan Freedom Network

2 CHS-1 is a paid CHS. CHS-1 has provided reliable information in the past relating to criminal
investigations that has proven to be true, relevant, and timely. The information provided by CHS-1 has led
to successful searches and seizures of contraband and to federal charges and prosecutions of individuals.
The true identity of CHS-1 is known to the FBI. CHS-1 has no criminal convictions.

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organization (“AFN”’), later identified as MUNSINGER, is a convicted felon and in
possession of multiple firearms.

5, AEN is a national white-supremacist organization headquartered in Texas
that was created as an umbrella organization for other white-supremacist prganizations,
According to its website (www.whitepower.org), AFN is “committed to the interests, ideas,
security and cultural values of the White Race” and is “determined to protect our Race
from going into extinction” within a “society oriented to the wishes of Replacing
Whites.” The mission statement of AFN is to “support the creation of an autonomous
White Aryan European homeland in North America;” “end non-White immigration to
Europe, North America, South Africa, Australia and New Zealand;” “support and protect

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the rights of workers from capitalist and communist manipulation & exploitation;” “act by
legal political means to lobby for the interests of the White working class in various nations
where Aryan Freedom Network has a presence;” “oppose the growing oppression of:
Whites and the working class by both national and intemmational governmental agencies,”
“advocate for, and protect the rights of, political prisoners wrongly imprisoned for
defending the interests of their race and nation;” “promote by every means possible media,
music, literature and activities which strengthen cultural awareness among the European-
American community;” “oppose and eradicate the criminal & deviant element currently
existing within the pro-White movement and hindering the Folkish aims of our cause;”

“promote and create European-American owned business, land ownership projects and

other outlets to ensure our economic and social freedom;” and “assist Aryan Freedom

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Network members, and supporters in their personal, spiritual, economic an social
advancement.”

6. The AFN logo features the Totenkopf, or death’s head, which is a skull and
crossbones image. The image was adopted during the Nazi era by the Schutzstaffel-
Totenkopfverbinde (SS-TV), or Death’s Head Formation, which administered Nazi
Germany’s concentration camps and slave labor drawn from the Jews and the populations
of the occupied territories, before subsequently serving as combat units. According to the
Anti-Defamation League, neo-Nazis and other white supremacists resurrected the
Totenkopf as a hate symbol following the war because of its importance to the SS.

Te According to CHS-1, during a meet and greet in February 2023 for new
members of AFN, MUNSINGER introduced himself as “Thor” from Minnesota and said
that he hated Jews and black people, specifically the African-American Muslim community
in Minnesota, which MUNSINGER referred to as “n***** Muslims.” MUNSINGER
described himself as a felon who had previously been in prison for five years for narcotics
trafficking. MUNSINGER said he was a “huge gun guy” who possessed “a few ARs and
handguns”? and had access to a eounhtine shop to make firearm parts “like silencers.”*

MUNSINGER boasted that the machine shop can make firearm parts that are not tracked

with serial numbers or tax stamps° to “f*** the Jew government.” During the AFN meet-

3 AR is an acronym for “assault rifle,” and commonly refers to AR-10 and/or AR-15 type model assault
rifles,

4 Silencers, also known as suppressors, are muzzle devices that reduce the sound intensity and muzzle rise
when a gun is discharged. Suppressors and the purchase and ownership of suppressors are regulated by the
National Firearms Act (NFA) under Title 26, and they must be registered to be lawfully possessed.

5 A tax stamp refers to a fee paid to the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) to

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and-greet, members discussed upcoming meetings and trainings. MUNSINGER was
particularly excited for firearms training and asked what firearms he could bring to training.
MUNSINGER followed his questions about bringing firearms with, “What about boom?,”
which Your Affiant believes was a reference to MUNSINGER asking about explosives.

8. MUNSINGER had previously provided his phone number to CHS-1 (the
SUBJECT CELL PHONE) and drove a Chevrolet Silverado pickup truck to the meeting.
Public database searches conducted by the FBI identified the SUBJECT CELL PHONE as
being registered to MUNSINGER. Additional database searches revealed that
MUNSINGER has a 2011 Chevrolet Silverado with Minnesota plate number EDK 169 (the
SUBJECT VEHICLE) registered to him in Minnesota.

9. CHS-1 identified unlabeled photographs of MUNSINGER as the individual
who introduced himself as “Thor” at the AFN meet-and-greet in February 2023. Your
Affiant has reviewed MUNSINGER’s criminal history, which includes a September 2007
Minnesota felony conviction for first-degree possession of narcotics (25 grams or more of .
methamphetamine), and a September 2009 Minnesota felony conviction for third-degree
sale of narcotics. MUNSINGER received a 74-month prison sentence for the 2007 felony
conviction and a 39-month sentence for the 2009 conviction, which was ordered to be
served concurrently with the 2007 felony conviction. Accordingly, MUNSINGER has at

least one conviction punishable by imprisonment for more than one year, and has to have

register items as required by the NFA.

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known that he had previously been convicted of a crime punishable by more than one year
imprisonment, because he served more than one year.

MUNSINGER’s discussions of his Firearms, Accessories, Ammunition, and Explosives

10, In April 2023, MUNSINGER and CHS-1 both attended AFN firearms
training in Indiana. CHS-1 was directed by the FBI to record interactions with
MUNSINGER, however, the FBI later discovered the recording device failed. According
to CHS-1, MUNSINGER brought a homemade rifle to the firearms training and mentioned
having a handgun in the vehicle he drove to training. CHS-1 later described the firearm
MUNSINGER possessed in detail as a homemade “AK-variant” rifle using .308-caliber-
sized ammunition. The rifle’s lower receiver was made of aluminum, and the upper
receiver was black. The rifle had a magnified optic—commonly referred to as a scope—
on the top. MUNSINGER had three magazines for the rifle and carried the rifle in a black
firearms case, which contained some loose ammunition. While at firearms training,
“MUNSINGER said that he possessed firearm suppressors and that he has made firearm
suppressors in ihe past. MUNSINGER also asked whether he could bring materials that
could explode to an upcoming AFN meeting in Oklahoma.

11. According to CHS-1, during the April 2023 firearms training, MUNSINGER

did not mention his status as a convicted felon to other AFN members participating in the

6 Your Affiant knows that CHS-1 has a personal and hobby interest in firearms, the firearms
industry, researching firearms, and shooting various firearms. AK stands for “Kalishnikov,” a
Russian-made style of assault rifle. Although the original report describes the gun as an AK
variant, Your Affiant has reason to believe that “AK” was a typo within the report and meant an
“AR” variant instead, specifically an AR-10.

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training. Another member of AFN, who knew of MUNSINGER’s status as a felon,
however, became upset at MUSINGER’s participation in firearms training because of
MUNSINGER’s felony status, and MUNSINGER was no longer allowed to participate in
the firearms training.

12. In May 2023, MUNSINGER attended another AFN event with CHS-1. The
event was audio recorded by CHS-1 with recording equipment provided by the FBI.
During the event, MUNSINGER again described his status as a felon, that he is prohibited
from possessing firearms, that he knows the consequences for the possession of firearms,
and that he tries to hide his possession of firearms, MUNSINGER also detailed attending
a gun show in Minnesota and shooting a firearm at the gun show.

13. In May 2023, CHS-1 introduced MUNSINGER to CHS-2’ via the SUBJECT
CELL PHONE. During the introduction, MUNSINGER texted CHS-2, “I would be the
one [CHS-1] calls thor.” After that, CHS-2 and MUNSINGER participated in phone calls.
During the phone calls, MUNSINGER acknowledged the following to CHS-2, among
other topics:

® MUNSINGER shoots firearms on his friend’s land,

e MUNSINGER served approximately 74 months in prison in approximately
2006 for methamphetamines;

@ MUNSINGER built several firearms in the past;

7 CHS-2 is a paid CHS. CHS-2 has provided reliable information in the past relating to criminal
investigations that has proven to be true, relevant, and timely. The information provided by CHS-
9 has led to successful searches and seizures of contraband and to federal charges and prosecutions
of individuals. The true identity of CHS-2 is known to the FBI. The criminal history of CHS-2 is
known to the FBI and does not include any crimes of dishonesty.

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e MUNSINGER’s friend owns a machine shop, and MUNSINGER has built
guns there; and

e MUNSINGER discussed his participation in AFN and his goals to advance
the white race.

14. In June 2023, MUNSINGER traveled to attend another AFN event, which
CHS-1 also attended at the direction of the FBI. The event was audio-recorded by CHS-1
with recording equipment provided by the FBI. The audio-recording, however, did not
capture the entire fntetastie® with MUNSINGER because the equipment did not have
sufficient capacity for the unexpected length of the meeting. During the event,
MUNSINGER told CHS-1 that he stores his firearms at his friend’s house for security
reasons. According to CHS-1, during the same AFN event, MUNSINGER again discussed
a gun show where he shot a suppressed .22-caliber firearm. MUNSINGER told CHS-1
that he can make suppressors and, when asked by CHS-1 if he would be willing to make
one for CHS-1, MUNSINGER stated that he would be willing to make a suppressor for
CHS-1. MUNSINGER also discussed his desire to manufacture a fully automatic, 9mm
_ AR pistol for himself and his desire to obtain an FN Five Seven handgun to convert it into
a rifle. MUNSINGER explained that he wanted the FN Five Seven because the FN round
could pierce light armor. He also discussed explosives and stated that a friend showed him

how to make explosive boobytraps, which MUNSINGER said were like claymores.”

8 An EN Five Seven handgun is a high-caliber handgun known to be able to penetrate some body armor,
and is designed and manufactured by FN Herstal, which is headquartered in Belgium.

9 Your Affiant believes MUNSINGER is referencing what is more commonly referred to as a claymore
mine. A claymore mine is military ordinance designed to target personnel. Both booby traps and claymores

are victim activated/triggered.

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15. During the June 2023 meeting, MUNSINGER discussed’ so-called
accelerationist attacks, how he agreed with the ideology, and that he could conduct an
accelerationist attack.!° When a question was posed to the group whether that included
killing someone, MUNSINGER stated he could kill someone. As evidence of his abilities,
MUNSINGER said that, following his release from prison, he secretly visited the residence
of the prosecutor that prosecuted his case. MUNSINGER claimed he went to the
prosecutor’s residence at night and observed the prosecutor sleeping in their bed.
MUNSINGER said he pointed a shotgun at the prosecutor but decided to not pull the
trigger. MUNSINGER stated he did the same thing to his ex-wife’s boyfriend.
MUNSINGER did not provide a date or timeline for when these events occurred.

16. In July 2023, MUNSINGER met in person with CHS-2. The meeting was
audio- and video-recorded with equipment provided by the FBI. During the meeting,
MUNSINGER confirmed he builds AR-10s. CHS-2 asked if MUNSINGER could build
CHS-2 an AR-10 in exchange for a forced-reset trigger,'! to which MUNSINGER replied
“I can. Yes.” MUNSINGER also discussed his ability to make silencers, which
MUNSINGER referred to as “quieters.” MUNSINGER also claimed to have a CNC

machine which could be used to produce gun parts and silencers.” .

10 Accelerationism touts that the existing state of society is irreparable, and that the only solution is the
destruction or collapse of the “system,” such as the current order of society and the United States
government, to form a subsequent reconstruction of society in a new form. Accelerationists: promote
societal collapse by carrying out acts, often acts of violence, that purportedly will accelerate the collapse of
the “system.”

\l Forced-reset triggers utilize the firing cycle ofa firearm to eliminate the need for the shooter to physically
release the trigger before a second shot is fired. A force reset physically forces the trigger to reset without
_ the shooter moving their finger and thereby overrides the pressure the shooter uses to pull the trigger.

2 Computer Numerical Control, or CNC, machining is a manufacturing process in which pre-programmed

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17. During the meeting, MUNSINGER also discussed his desire to obtain a fully
automatic FN Five Seven handgun with extended magazines. When CHS-2 asked
MUNSINGER what is so special about a FN Five Seven, MUNSINGER responded,
“Okay, the reason that I like the Five Seven...right? Okay. So its round i slightly larger
than a 5.56. Very, very slightly. But the pistol ammunition is still, it’s almost more of like
an assault rifle ammunition. The speed of it, the round itself will penetrate soft body armor.
Unlike a 9 or 40 or whatever. So you’re talking about a fast round that is fairly accurate in
range of the small size round, even though it’s kind of inter, intermediary between a pistol
ammunition and assault rifle round. It’s still small enough where you can pack a lot of
them into a fucking extended magazine and have shit tons of rounds to fire. Couple that
with a fucking like forced reset and now you have something concealable that is now fully
automatic and can penetrate soft body armor.” In combination with MUNSINGER’s
description of his desire to obtain a FN Five Seven to penetrate body armor, MUNSINGER
also made statements that CHS-2 believed referred to attacking law enforcement,
including, “going after those pesky armored deer” that wear armored vests.

18. Additionally, MUNSINGER indicated to CHS-2 that he possessed 10,000
rounds of ammunition, stated that he makes his own Tannerite’? “because there’s no,

there’s no electronic or paper trail,” and stated that he has body armor. Your Affiant is

computer software dictates the movement of tools and machinery, such as lathes or grinders, for more
precise manufacturing.

13 Tannerite is a brand of binary explosive targets used for firearms practice and sold in a kit to the public.
The product is packaged with two separate chemicals that, when combined, creates an explosive compound.
The product is not regulated by the ATF unless and until the two chemicals are combined.

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aware through financial records obtained via legal process of a purchase by MUNSINGER
in September 2022 from Spartan Armor for $305.42. Your Affiant knows Spartan Armor
to be a company that manufactures and sells body armor.

19. During a phone call with CHS-1 in early September 2023, MUNSINGER
asked CHS-1 if they. would like to go shoot firearms when CHS-1 was in town CHS-1
asked MUNSINGER if MUNSINGER needed CHS-1 to bring firearms for MUNSINGER
to use. MUNSINGER told CHS-1 that he had his own firearms to shoot but needs to
purchase ammunition. MUNSINGER also told CHS-1! that the two of them could shoot at
MUNSINGER’s friend’s property. CHS-1 agreed to meet MUNSINGER to shoot firearms
as MUNSINGER had proposed.

20. During an additional phone call a few days later, MUNSINGER stated he is
a member of a local shooting range and that CHS-1 and MUNSINGER can go shooting
there. During the phone call, MUNSINGER said he temporarily stopped trying to obtain
a FN Five Seven because he is currently focused on another project. MUNSINGER stated
he plans to restart efforts to obtain a FN Five Seven in the winter. MUNSINGER told
CHS-1 that he wants to convert the FN Five Seven into fully automatic and turn the firearm
into a shoulder-mounted firearm.

21. On September 16, 2023, CHS-1 and MUNSINGER met to go shooting. The
meeting was audio- and video-recorded using equipment provided by the FBI. When CHS-
1 arrived at MUNSINGER’s residence, MUNSINGER told CHS-1 that his vehicle

contained all the items he needed for shooting that day, “Yah, I’m all loaded up and ready.

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I got everything I need. I got my gun in there. I got the targets. I got plywood to esount
the targets to.”

22. | MUNSINGER and the CHS proceeded to the local shooting range, located
in Redwood County, Minnesota, to shoot firearms. MUNSINGER brought the same

homemade rifle chambered in .308 that CHS-1 had previously observed MUNSINGER

Figure 1 - MUNSINGER's AR-10

with in April 2023 (see below):'*

23. In addition to shooting, MUNSINGER also stated that:

e He intended to make additional lower receivers chambered in .308: “Well I
want to make another one like this [referring to his rifle].”

e Hehas acompleted AR-15 lower receiver: “And then I’ve got another lower,
which is the AR, the AR-15 lower.”

14 Ags noted above, this is the rifle that Your A ffiant believes was mistakenly referred to as an “AK”
variant rather than an “AR” variant. The photo of the rifle supports Your Affiant’s belief that the

rifle is an AR variant.

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e Hereloads his own ammunition: “I try to stick with brass for the reloadability

purpose” and he can reload a whole box in a “few minutes”.!°

e During online research, he has seen websites offering black tip ammo for sale
online:!6 “Black tips...I’ve seen them online they’re for sale but it’s just the
bullet never the fully assembled cartridge. You have to handload them.”

e He has used Tannerite in the past and had considered bringing some
Tannerite while shooting with CHS-1.

e He has a desire to obtain land in northern Minnesota to create a tactical
shooting area: “This spring I want to be on top of buying that fucking
property. I can put a range up there in the middle of nowhere...some of the
shit I want to build for shooting and training be more like...I’m talking more
like a tactical range.”

e He is currently focused on his project of harvesting/cultivating sunflowers
and weed plants but will have time to obtain a FN Five Seven in the winter.

24. In October 2023, MUNSINGER and CHS-1 met at a two-day event called
Aryan Fest. The event was audio-recorded by CHS-1 using equipment provided by the
‘FBI. The event was attended by several dozen people, including people who claimed
membership in other white-supremacist groups. During the event, CHS-1 either
participated in discussions or observed MUNSINGER discuss several topics including
explosives, MUNSINGER’s residence being “booby trapped,” MUNSINGER’s plans to
build AR-15s, and a trade with CHS-1 to obtain a FN Five Seven handgun.

25. During the event, MUNSINGER discussed explosives with other attendees,

including CHS-1. While making large, wooden swastikas that attendees intended to

1S Your Affiant spoke with an ATF nexus expert, and learned that propellant powder used for
reloading is only manufactured in two locations in the United States and does not include

Minnesota.

6 Black tip ammo often refers to armor-piercing rifle rounds,

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ceremoniously burn, MUNSINGER can be overheard telling an unknown person that he
previously made an explosive device. “Dude I made a fucking ahhh four foot long, one
inch threaded steal pipe. Took the whole bank of the river out. Shattered windows for like
four miles...No this wasn’t fertilizer, this was black powder.” MUNSINGER can then be
overheard referencing flash powder. Based on my training and experience, black powder
and/or flash powder condensed in a metal pipe with threads indicates MUNSINGER likely
constructed what is commonly known as a pipe bomb or improvised explosive device
(“IED”), both of which are defined as a destructive device under the NFA in Title 26.

26.  Duting a discussion of so-called “stand-your-ground” and “defend-your-
castle” laws, MUNSINGER implied he currently possessed explosives which he has used
to booby trap the SUBJECT PREMISES.

UNKONWN PERSON: “If you have someone break in...”
MUNSINGER: “Kill ‘em. Kill ‘em”
CHS-1 asks MUNSINGER: “Don’t you have the windows booby trapped?”

MUNSINGER: “I do.”

Another UNKNOWN PERSON asks MUNSINGER: “You have your
windows booby trapped?”

MUNSINGER: “Oh yeah, I keep it that way. Because if they bring the A
team to come get my ass, they better bring the B team to pick up the pieces
of the A team.”

CHS-1: “There you go... You know they’ll come...”
MUNSINGER: “I thought they’d come 15 years ago.”

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2 te

MUNSINGER and CHS-1 further discussed MUNSINGER’s firearms and

MUNSINGER’s efforts to build two new AR-15s. MUNSINGER told CHS-1, “I’m

building out another AR-15”. CHS-1 later clarified with MUNSINGER:

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CHS-1: “What did you say, last night, so you got, what was the, not the
AR1O, what was the other one you were talking about?”

MUNSINGER: “The AR-15?”
CHS-1: “You said you were making one?”
MUNSINGER: “Yeah, two of them.”

CHS-1; “...What is like the upper and lower, what brand did you get?”

-MUNSINGER: “Oh abh, I went through Bear Creek arsenal to get the upper

and (UI) is through SK it’s got a side charging handle and its in 5.56 caliber.
My upper was 210 bucks... (UI) the other guy I’m giving him the lower and
he’s giving me the upper because he’s getting them.”

Later during the event, CHS-1 and MUNSINGER discussed whether

MUNSINGER is still interested in trading a firearm for a suppressor. MUNSINGER is

interested but does not believe he could provide CHS-1 the suppressor. MUNSINGER’s

associate that makes suppressors does not currently have the time and resource ability to

construct suppressors.

CHS-1: “Would you want to do a trade?”
MUNSINGER: “What kind of trade are you talking about?”

CHS-1: “That Sig you got; how much did you receive that for? I know
someone who has a gun shop that can get it for me for like maybe 7.”

MUNSINGER: “So you’re saying you want to trade me a Sig for.. a

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CHS-1: “No. I would get that Sig!” that you wanted...I would trade you a
Sig if you can get (UI)?”

MUNSINGER: “Obhh, I'll have to talk to him.”
CHS-1: “It’s not out of the question?”

MUNSINGER: “It’s not necessarily out of the question it’s just a matter of
whether or not like whether or not whether he has the time to do it and like
what he’s looking at as a back log right now for something that’s already
ordered.”

_CHS-I: “Oh ok”

MUNSINGER: “He’s got. It’s stuff he’s doing now but he works a fulltime
job like everybody else.”

CHS-1: “I wouldn’t have to get a stamp?”?®
MUNSINGER: “Nope.”
- CHS-1: “You got one you want to trade?”

MUNSINGER: “I don’t do, I don’t do that just because for me that’s a big
problem. If] have it in my (UI) my house [CHS-1 - “Yeah you told me that”’]
I, I...have a third party that holds onto them for me because I automatically
expect the fucking police to kick my door in at any moment. All the time.”?

CHS: “That’s Smart, that’s Smart.”

17 Your Affiant believes CHS-1 misspoke and meant to say FN since CHS-1 and MUNSINGER
have discussed MUNSINGER’s desire to obtain a FN on multiple occasions. In addition, CHS~1
and MUNSINGER later discuss CHS-1 providing a FN Five Seven handgun to MUNSINGER in
a trade.

18 Your Affiant believes CHS-1 and MUNSINGER are discussing a suppressor, because under
Title 26 of the NFA a tax stamp from the ATF would be required to legally obtain and possess a
suppressor. MUNSINGER’s response regarding the tax stamp indicates the necessary tax stamps
are not obtained prior to the suppressors being produced.

19 Ag further discussed below, Your Affiant believes MUNSINGER is not being truthful regarding
the location of his firearms and possibly other illicit materials as part of operational security.
Instead, Your Affiant has probable cause to believe the firearms and possibly other illicitly
possessed materials are located within the SUBJECT PREMISES.

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29, CHS-1 then asked MUNSINGER if he would be willing to trade an AR-15.
MUNSINGER agreed and told CHS-1 that he can, “Make a good AR that I can get you”
and continues to explain, “I plan on making two, I have ordered...I haven’t...I have
ordered the upper for one but I haven’t ordered the upper (UI)...”

30.  Atthe end of the event, CHS-1 and MUNSINGER revisit the proposed trade
and clarify the trade parameters. CHS-1 would provide MUNSINGER with a FN Five

Seven handgun and MUNSINGER would provide CHS-1 an AR-15.

- CHS-1: “Like I said, that FN, I’ll let you know. Let me know what kind of
build you’re thinking about trading.”

MUNSINGER: “Well, since it’s a build I can build it to whatever you want?
Straight up 16-inch barrel AR15. You want the rear charging? Side
charging?”

CHS-1: “Rear.”

MUNSINGER: “Standard, standard, non-reciprocal rear charging handle.”
CHS-1: “yeah nothing crazy.”

MUNSINGER: “Just a standard rifle, just a standard rifle.”

CHS-1: “yeah, just think about it, Don’t rush into it.”

MUNSINGER: “Well I’ll build two anyways so one way or another.”
CHS-1: “Because I can get one.”

MUNSINGER: “Well, yeah like a ghost version or?”

CHS-1: “Make it. He could possibly make it. Once he gets his hands on it.
The dude I use, he goes to gun shows all the time and these mother fuckers
don’t register their guns. Especially Ohio. Ohio is a non-registered state. So
if he goes to a gun show and buys it, there’s no transaction.”

MUNSINGER: “Right, right.”
CHS-1: “You don’t sign anything that says I...”

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MUNSINGER: “No background check”
CHS-1: “No”
MUNSINGER: “UI”

CHS-1: “yeah, yeah, but certain states like Illinois its completely illegal.”.
That’s a felony.”

MUNSINGER: “It’s a felony in my state too.”

CHS-1: “See. So I mean there’s a risk...(UI)”
MUNSINGER: “But only the person who sells it to you.”
CHS-1: “No, (UI)”

MUNSINGER: “Well yeah him and to you, you would know the transaction
you guys...happened.”

CHS-1: (Ul)

MUNSINGER: “that’s why I want to know what you want so I can get you
what you want in trade”

CHS-1: “I like your ten buddy...but I don’t think it’s fair.”

MUNSINGER: “Referring to the...[CHS-1: (UI)].. .ten...[CHS-1: “No”] oh
yeah, I would just do a standard 16 not a 10 on a ona 15. AR-15, 16-inch
barrel.” .

CHS-1: “(UD, ... Raw”

MUNSINGER: “It wouldn’t even be, Well. It wouldn’t even be raw. It
would all be painted. Because the lower’s already painted. It came that way.
The upper is going to be whatever the factory painted it as. So you’d have
to strip if you wanted it repainted.”

CHS-1: “Alright”

MUNSINGER: “Or you can just paint over it”
_..CHS-1 talks about a handguard...

MUNSINGER: “And you want to trade it for a Sig?”

CHS-1: “Yeah the one you want.”

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MUNSINGER: “Pistol?”
CHS-1: “Yeah.”
MUNSINGER: “Oh! Sold!”

CHS-1: “...(UI)...I can get it. It’s not hard he goes to gun shows all the
time.” .

MUNSINGER: “9 mil or 40?”
CHS-1: “What's the one you like?”
MUNSINGER: “Well actually what I like is the FN Five Seven.”
CHS-1: “(UI)”
MUNSINGER: “Oh you want to trade me that?”
CHS-1: “Yeah”

MUNSINGER: “Holy fuck. (CHS-1 UI). That’s a solid deal right there. I’1l
definitely get you the AR-15, you know, ghost gun, non-registered. Never
have (UI).”

Following this exchange with MUNSINGER, CHS-1 and MUNSINGER departed the
event.

31. MUNSINGER has also made statements about his common practice of
reloading ammunition. When asked by CHS-1 if MUNSINGER was allowed to reload
ammunition, MUNSINGER responded, “Yeah, the only thing I can’t do is have a thing
with a serial number on it. The only rule that exists is that a person, you know, that a
person in my particular set of circumstances cannot own or possess a thing with a serial
number on it. All the other ancillary stuff like stocks, optics, bullets, stuff like that, there’s

no rule against a person like me you know doing that.”

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32. Despite MUNSINGER’s assertions during the investigation that he is careful
with where he stores his firearms (e.g., “...that’s another reason why I don’t keep, like,
okay, so, money is one place, maybe guns are another place, maybe drugs are third place”),
MUNSINGER readily admitted during a December 8, 2023, meeting with CHS-1 that he
recently built an AR-15 rifle at his residence, wants to obtain another AR-10 lower receiver
from his brother to build into another firearm, and CHS-1 observed MUNSINGER storing
$20,000 of cash in his truck along with approximately 10 rifle magazines, some of which
were loaded with rifle ammunition.

33. On November 12, 2023, at the direction of the FBI, CHS-1 called
MUNSINGER. The call was recorded on FBI provided recording equipment. During the
call, CHS-1 asked if MUNSINGER was still interested in trading firearms, which
MUNSINGER referenced as “fishing poles” in order to speak in code about the trade.

CHS-1: “Still interested in the fishing pole thing?”

MUNSINGER: “Yeah, to a point, is it that, that brand fishing pole that I was thinking
about?”

CHS-1: “The FN?”

MUNSINGER: “yeah.”

CHS-1: “Yeah. I got two colors too.”
MUNSINGER: “oh Jesus.”

CHS-1: “I highly doubt that matters, I mean, all I got to do, he’s got them so all I have
to do is say when.”

MUNSINGER: “Alright.”

CHS-1: “And then we can do what we talked about down in Texas or a later date
whatever you want to do, I mean it’s no big deal.”

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MUNSINGER: “Alright, alright well, let’s see the 8th, you said the 7th to the 10th, you
said?”

CHS-1: “Yeah. One day out of that Pll be free. Closer to the date I’ll know more.”

- CHS-1: “Well like I said I’m good to go if you want to do it, fine, I mean, I’m more
than happy to swap poles.”

MUNSINGER: “Yeah.”

CHS-1: “It’s a better deal and plus, you get, you know, that’s...I didn’t realize how
hard that was to get ahold of that FN.”

MUNSINGER: “Yes, now you see why I wanted it.”

CHS-1: “Yeah.”

MUNSINGER: “They have them you can buy them they’re like 800 dollars each.”
CHS-1: “Yah, I’ve seen them a little bit more.”

- MUNSINGER: “Yeah, they’re 800 to about a thousand depending on you know.”
CHS-1: “They’re running about eleven hundred on the pole broker.”?!

MUNSINGER: “Oh really so they’ve gone up. Another thing.I just saw the other day
alright so check this out so that same FN cartridge that 5x7x28 mm, ok so ahh, there’s
a company that now makes an upper receiver that uses the MP90 top loading magazine
on that upper receiver that fits on an AR frame.”

CHS-1: “No shit”
34, During the call, MUNSINGER also explained that he was working on

building the AR-15: “As far as the fishing pole thing. Actually, I was just, yesterday, I

was just building one.” MUNSGINER also told CHS-1, “As far as like fishing poles and

20 Your Affiant knows this to mean dates in December.

21 CHS-1 is likely referencing gunbroker.com, a website that facilitates the purchase and sale of
firearms, but uses “pole” in place of “gun” to stay consistent with the coded language.

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stuff like that, I’m going to start winding down on that. And the reason for that is just, like,
I’ve got most of what I want and what 1 need. I’ve helped quite a few people out on the
stuff what they wanted and needed. I’m going to start tapering that off to an end and
transition to something else”. MUNSINGER further explained, the new venture is,
“Something completely different but way more effective.” The CHS then asked
MUNSINGER if that was a conversation, “That’s for, that’s not for a phone conversation
I’m going to assume cause....”, which MUNSINGER replied, “No, no.” MUNSINGER
would later explain to CHS-1 he was referencing his desire to develop the of use of
surveillance drones to do 3D mapping and “see any hiding force in advance in a sheltered
position.” MUNSINGER surmised he theoretically could progress into drones with an
offensive capability once he conquers surveillance drones.

35. Leading up to the expected exchange of firearms, MUNSINGER contacted
CHS-1 on an audio-recorded phone call on December 4, 2023, and stepped away from the
trade of an AR-15 for the FN Five Seven handgun, explaining he does not want to go
through “with the fishing rods, just for, you know, for safety reasons.” MUNSINGER
further explained he started having second thoughts after believing he was surveilled by
law enforcement, which caused him to second guess whether the exchange of firearms was
worth the risk, “The last time I talked to you | was trying to shift away from that direction
and that has to do with safety reasons and all that stuff for everybody not just myself but
everybody else...I just get really super worried. I’ve had a lot of bad experiences in my
life when it comes to getting involved in any kind of risky. Don’t get me wrong, I love

taking risk...I take a whole bunch of risks on all kinds of stuff. This one is maybe just

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right up somebody else’s particular alley. You know what I mean? So, I just want to Kinel
of avoid that particular situation as much as possible.”

36. | Despite MUNSINGER no longer wanting to participate in the exchange of
firearms, MUNSINGER later continued to discuss with CHS-1 his desire to make
modifications to an FN Five Seven handgun for use in urban combat, “Imagine that [FN
Five Seven] as a, what they call it, not a short-barreled rifle, as a pistol rifle with a silencer
on it and then a 50 or 100 round drum mag fully automatic for urban combat.”

37. During an in-person meeting with CHS-1 on December 8, 2023, that was
audio-recorded at the direction of the FBI, MUNSINGER told CHS-1 he still built the AR-
15 (that he was going to exchange for the FN Five Seven) and talked about his plans to
make another AR-10.

CHS-1: “Now did you use iron sites on the ARs you made?”
MUNSINGER: “Yeah.”
CHS-1: “Did you fire them? Did you like them?”

MUNSINGER: “J haven’t fired the AR1S5 that I just built recently yet. Obviously, I
fired the AR-10. I helped someone build theirs.”

CHS-1: “AR-10?”
MUNSINGER: “No AR-15. My brother he’s got an AR-1 0 lower that eventually he’s
going to build out. I don’t think he’s going to, so I’ve been asking him about that

lower.”... “Hey! You ain’t doing anything with that you should bring it over here.”

38. During the same December 8, 2023 meeting, MUNSINGER talked about his
plans for creating another AR-10. “I want to get one like that other AR-10 lower. If I can
get that, I want to get two uppers for that one and have that one with a reset trigger with

big, big fucking mags for it, with 100-round drums for it, next to a barrel, so you just pop

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the pins out and throw a whole other upper on it and then keep going.” CHS-1 asked
MUNSINGER if the AR-10 he owns has a standard trigger, to which MUNSINGER
replied it does, but he continued to explain what he wants to do with the AR-10s, “What
I’m talking about is the speed of rounds and that’s the forced reset. Basically, the machine
gun. Definitionally not, but fires just as fast. Do that with an AR10 with two uppers.”

39, During a phone call in early January 2024, which was audio-recorded at the
direction of the FBI, CHS-1 and MUNSINGER arranged to meet on January 27, 2024, to
shoot firearms. During the call, MUNSINGER told CHS-1 that he plans to bring an AR-
15 he built to go shooting with.

40. Also, during the phone call, MUNSINGER and CHS-1 talked about
MUNSINGER’s lack of worry regarding safety for his drug-sale operation. During the
call, MUNSINGER tells CHS-1 that no one will screw with him during drug deals,
“Usually because I have such a big set of nuts that most people don’t get that thought in
their head... Very rarely in my life ever come across anybody who even have the nerve to
take something from me. Never really had anybody try and take something from me fike
that because I think you know when people know me for a short period of time, they realize
this dude, there is no telling how far he will go...Anybody even knows me for a short period
of time will immediately figure out there’s no telling how far he will go, because he takes
shit to the end. So most people don’t even get the idea to fuck with me like that. ... You
have to be willing to go further than the next guy, and I make that evidently, you know,
evidently clear to anyone that knows me for a short-period of time that I’m willing to go

farther than anyone else.” In illustration of MUNSINGER’s readiness and willingness to

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do violence to others, MUNSINGER told CHS-1 that he went to the house of “this dude
who was running his fucking mouth” about MUNSINGER’s brother being a snitch and
“beat the shit out of him in his living room” the day MUNSINGER was released from
prison.

41. On January 9, 2024, CHS-1 texted a picture of CHS-1’s firearms to
MUNSINGER. MUNSINGER in turn replied to CHS-1 with a text of a picture of what
appeared to be a semiautomatic rifle ona blanket (both depicted below). CHS-1 then asked
MUNSINGER if the depicted rifle was the “new Frankenstein version,” which Your
Affiant believes to mean a firearm constructed from various parts of the same model of
firearm, but from different manufacturers. MUNSINGER responded “10.5,” which Your
Affiant believes is a reference to the length in inches of the rifle’s barrel. Based on the

picture of the rifle, as depicted below, MUNSINGER’s apparent reference to the barrel

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10.5

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length of 10.5 inches, and a review of the picture and text by an ATF Special Agent, Your
Affiant has probable cause to believe the rifle is likely a short-barreled rifle, which would
require registration under the National Firearms Act to avoid a violation of 26 U.S.C.
§ 5861(d) (unregistered firearms).

42. During a January 26, 2024 phone call between MUNSINGER AND CHS-1,
that was audio-recorded at the direction of the FBI, MUNSINGER and CHS-1 discussed
logistics for shooting at the range, located in Redwood County, Minnesota, on January 27,
2024. MUNSINGER stated he intended to bring an AR-15 when they go shooting. CHS-
1 asked MUNSINGER if he was bringing the 10.5-inch, short-barreled rifle, and
MUNSINGER replied no, that he would instead bring an AR-15 with a 16” barrel.
MUNSINGER also made reference to an AR-10 with a 20-inch barrel. MUNSINGER also
told CHS-1 that he purportedly does not have any handguns but would be interested in
building handguns in the future.” MUNSINGER also told CHS-1 that he had to purchase
ammo, check the shooting range, and submit money for AFN membership dues prior to
meeting CHS-1 for shooting the next day.

43. On January 27, 2024, MUNSINGER met with CHS-1 to shoot firearms at
the same range, located in Redwood County, Minnesota, they previously went shooting at.
The meeting was audio-recorded at the direction of the FBI. MUNSINGER brought two
firearms with him to shoot, the AR-10 with the 20-inch barrel referenced above, and an

AR-15 that he stated he recently built and had not shot yet (depicted below).

22 In April 2023, CHS-1 reportedly observed a handgun in MUNSINGER’s vehicle during an AFN firearms
training event that MUNSINGER drove the SUBJECT VEHICLE to.

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Figure 2 - MUNSINGER's AR-15

44. MUNSINGER told CHS-1 he constructed the AR-15 using a Bear Creek
Arsenal upper receiver. During the conversation, MUNSINGER told CHS-| he traveled
from his residence that morning to pick up his firearms he intended to shoot that day: “I
had to go about an hour and 40 minutes to pick them up this morning.” MUNSINGER
also told CHS-1 that he was involved in the purchase of additional lower receivers: “The
lower, we bought a couple dozen lowers or whatever, and that’s one of those dozen lowers
and each one was like $30.”

45, Additionally, during the meeting, MUNSINGER told CHS-1:

e The 10.5-inch short-barreled rifle was originally constructed by
MUNSINGER for someone else, but the person could not pay for the
firearm, so MUNSINGER took the firearm back.

e He alluded to a desire to conduct nefarious activity in George Floyd
Square, saying he wanted to conduct a protest at George Floyd Square,
which he compared to going into the “heart of the enemy.” CHS-1 later
asked MUNSINGER, “I thought you wanted to do George Floyd like go
sabotage the place?” MUNSINGER responded, “Oh that’s definitely on
the list. That’s definitely on the list for later.” CHS-1 then joked,
“Molotov Drone,” to which MUNSINGER responded, “Hey, that could
be a thing.”

e MUNSINGER brought ammunition with him to shoot.

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46. A portion of the video recorded by CHS-1 shows MUNSINGER loading
ammunition into a magazine for his AR-15. Using internet searches, Your Affiant was
able to match the box shown on video snip below with images of ‘the boxes. Your Affiant

believes the ammunition used by MUNSINGER is likely ammunition produced by ZSR.?3

Figure 3 - MUNSINGER’s ammunition and Internet image of same brand anmunition

23 Your Affiant conferred with an ATF interstate nexus expert. Based on the description provided and the
images above, ZSR brand ammunition is not manufactured in Minnesota, and therefore traveled in and
affected interstate commerce before possessed by MUNSINGER in Minnesota on or about January 27,

2024.

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Figure 4 ~ Internet image of ammunition box, indicating the ammunition is manufactured by ZSR

ZSR AMMUNITION - 7.62x51 - 147 GRAIN -

FMJ

7,.62x51 | 147 Graln | Full Metal Jacket (FMJ)

srtrvrvyve 0 Reviews | Write a review

The ZSR Ammunition - 7.62%51 - 147 Grain - FMJ Is a high-quality, rellable

ammunition designed for use In rifles chambered for the 7.62x51mm NATO

cartridge, With a full metal jacket (FMJ) design and a weight of 147 grains,
> thls ammunition offers excellent accuracy and penetration, making it

suitable far both target shooting and tactical applications.

SPECIFICATIONS >

47. While shooting with CHS-1, MUNSINGER purchased more ammunition
from a local store so he wouldn’t have to go back to his residence to obtain more
ammunition. MUNSINGER purchased Tula Ammo,”4 which is depicted below. Your
Affiant also obtained CCTV surveillance video and a transaction receipt from the local

‘store showing MUNSINGER purchased Tula Ammo .223-caliber, 55 grain, full metal

4 Your Affiant conferred with an ATF interstate nexus expert. Based on the description provided and the
images above, Tula Ammo brand ammunition is not manufactured in Minnesota, and therefore traveled in
and affected interstate commerce before possessed by MUNSINGER in Minnesota on or about January 27,

2024,

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jacket ammunition, which matches the box of ammunition from the video snip shown

below.

igure 6 — MUNSINGER with AR-15 and loading ammo purchased info a magazine

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48. After they finished shooting, MUNSINGER, with help from CHS-1, picked
up the spent brass casings so MUNSINGER could later reload the ammunition.
MUNSINGER told CHS-1 that he is also trying to hoard ammunition because of his status
as a felon: “I’m just waiting for the day they start fucking doing background checks for

‘these [referring to lower eccivers|. At some point I’m not going to be able to buy ammo,
so I’m trying to stock up.”

49. MUNSINGER also claimed to have built approximately 100 firearms: “Its
not that difficult, none of my guns, I have built now probably close to 100 guns,” even
though he knows he is prohibited from owning firearms, “Me. Fuck no, I can’t own a gu.”

50. On January 28, 2024, Your Affiant observed via electronic surveillance,
MUNSINGER walk out the front door of the SUBJECT PREMISES, and take out two
tifle-sized items from the SUBJECT VEHICLE, both of which looked like firearm cases,
and take them inside the SUBJECT PREMISES. Your Affiant believes one of the cases is © -
the black hard-shelled rifle case sefereneatd above that MUNSINGER brought to go

shooting with CHS-1.

REQUEST FOR SEALING
51. I further request that the Court order that all papers in support of this
application, including the Affidavit and search warrant, be sealed until further order of the
Court. These documents discuss an ongoing criminal investigation that is not known to all
targets of this investigation. Accordingly, there is good cause to seal these documents
because their premature disclosure may seriously jeopardize that investigation by

providing information and advanced notice of the investigation to the target(s) of the

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investigation and their confederates, both known and unknown, which could lead, among
other things, to the destruction or hiding of evidence, and the fleeing of the target(s) and/or

co-conspirators, both known and unknown.

CONCLUSION

52. Based on the totality of all the facts contained herein and on my training,
experience, and knowledge, Your Affiant has probable cause to believe that Andrew David
MUNSINGER (1983) did knowingly possess ammunition as a felon, in violation of Title
18, United States Code, Section 922(g)(1) (Felon in Possession of Ammunition).

Respectfully submitted,

Jp IPL

Jason Bujold
Special Agent, FBI

SUBSCRIBED and SWORN before me,

by reliable electronic means via Zoom and
email, pursuant to Fed. R. Crim. P. 41(d)(3), on
February 5, 2024,

i OS cs
un seven td hig ste co GP

(_DAVIDT.SCHULTZ.

UNITED STATES MAGISTRATE E JUDGE
DISTRICT OF MINNESOTA

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